                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


GARY LLOYD BARNES,

                 Plaintiff,

       v.                                                    Case No. 17-C-688

UNITED STATES OF AMERICA’S
ATTORNEY GENERAL JEFF SESSIONS,

                 Defendants.


                                 CERTIFICATE OF MAILING


       I hereby certify that on August 14, 2017, I mailed via first class mail true and correct

copies of the following: Reply Brief in Support of Motion to Dismiss, Exhibit A and Certificate

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       Dated this 14th day of August, 2017.

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